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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

   UNITED STATES OF AMERICA,                )
                                            )
                        Plaintiff,          )
                                            )               8:06CR116
                vs.                         )
                                            )               ORDER
   JOHNNY NEWELL,                           )
                                            )
                        Defendant.          )

         Defendant Johnny Newell appeared before the court on Monday, January
   23, 2012 on a Petition for Warrant or Summons for Offender Under Supervision
   [849]. The defendant was represented by Assistant Federal Public Defender
   Richard H. McWilliams and the United States was represented by Assistant U.S.
   Attorney Justin C. Dawson. Through his counsel, the defendant waived his right
   to a probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1).
   The government moved for detention. The defendant was released on current
   terms and conditions of supervision.
         I find that the Report alleges probable cause and that the defendant should
   be held to answer for a final dispositional hearing before Chief Judge Smith
   Camp.
         IT IS ORDERED:
         1.     A final dispositional hearing will be held before Chief Judge Laurie
   Smith Camp in Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse,
   111 South 18th Plaza, Omaha, Nebraska, on March 12, 2012 at 10:30 a.m.
   Defendant must be present in person.
         2.     The defendant is released on current conditions of supervision.
         DATED this 23rd day of January, 2012.

                                                   BY THE COURT:

                                                   s/ F. A. Gossett
                                                   United States Magistrate Judge
